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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:08-cr-00012-MP-AK

AMANDA YVONNE WHITE,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 131, Motion to Clarify Conditions of Pretrial

Release, filed by Amanda Yvonne White. The probation officer supervising Ms. White seeks

clarification whether she can authorize an extension of curfew for Ms. White in order for Ms.

White to attend church services and Cub Scout meetings which might require her to return to her

home after 8:00 p.m. The government and the probation officer do not object to the motion.

Accordingly it is hereby

       ORDERED AND ADJUDGED:

       The probation officer supervising Ms. White is authorized, at his/her discretion, to extend
       Ms. White's curfew for the purposes described in the motion at Doc. 131. All other terms
       and conditions of release remain in full force and effect.

       DONE AND ORDERED this 1st day of April, 2009


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
